                                                                                  FILED
                                                                                   Nov 29 2022

                       UNITED STATES DISTRICT COURT Mark B. Busby
                       NORTHERN DISTRICT OF CALIFORNIA
                                                   CLERK, U.S. DISTRICT COURT
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                           SAN FRANCISCO
                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER: Superseding Indictment
                                                                            CR22-270 WHO
 USA V.    JOHN FRANCIS PORTER                                      CR

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
 (Lead Attorney):   AUSA Ward                             Date Submitted:   11/29/2022
 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
  United States District Court
                      FOR THE
           NORTHERN DISTRICT OF CALIFORNIA
                                                             Superseding Indictment
                VENUE: SAN FRANCISCO
                                                            CR22-270 WHO


                     UNITED STATES OF AMERICA,
                                   V.

                       JOHN FRANCIS PORTER,


                                                                    FILED
                                                                      Nov 29 2022

                                                                Mark B. Busby
                                                          CLERK, U.S. DISTRICT COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA
                          DEFENDANT(S).                        SAN FRANCISCO

                         INDICTMENT

18 U.S.C. § 1349 – Conspiracy to Commit Honest Services Wire & Mail Fraud
           18 U.S.C. §§ 1343, 1346 – Honest Services Wire Fraud
          18 U.S.C. §§ 1341, 13446 - Honest Services Mail Fraud
     18 U.S.C. § 371 – Conspiracy to Commit Bribery of a Local Official
          18 U.S.C. §§ 666(a)(2) and 2 – Bribery of a Local Official
                    18 U.S.C. § 2 – Aiding and Abetting
    28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(C) – Forfeiture Allegations




      A true bill.

       /s/ Foreperson of the Grand Jury
                                                     Foreman

      Filed in open court this __________
                                29th      day of

      _________________________________.
      November, 2022

       ____________________________________________
                                    Stephen Ybarra
                                               Clerk
       ____________________________________________

                                        Bail, $ _____________
                                                No Process


        Hon. Alex G. Tse, United States Magistrate Judge
 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
                                                                       FILED
 2
                                                                         Nov 29 2022
 3
                                                                    Mark B. Busby
 4
                                                              CLERK, U.S. DISTRICT COURT
 5                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                   SAN FRANCISCO
 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                             SAN FRANCISCO DIVISION
                                                       Superseding Indictment
11   UNITED STATES OF AMERICA,         ) CASE NO. 22-CR-270 WHO
                                       )
12        Plaintiff,                   ) VIOLATIONS:
                                       )
13     v.                              ) 18 U.S.C. § 1349 – Conspiracy to Commit
                                       ) Honest Services Wire and Mail Fraud
14   JOHN FRANCIS PORTER,              ) 18 U.S.C. §§ 1343, 1346 – Honest Services Wire
                                       ) Fraud
15        Defendant.                   ) 18 U.S.C. §§ 1341, 1346 - Honest Services Mail
                                       ) Fraud
16                                     ) 18 U.S.C. § 371 – Conspiracy to Commit Bribery of a
                                       ) Local Official
17                                     ) 18 U.S.C. § 666(a)(2) – Bribery of a Local Official
                                       ) 18 U.S.C. § 2 – Aiding and Abetting
18                                     ) 28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(C) –
                                       ) Forfeiture Allegations
19                                     )
                                       ) SAN FRANCISCO VENUE
20                                     )

21                                SUPERSEDING INDICTMENT

22 The Grand Jury charges:

23 At all times relevant to this Superseding Indictment:

24                                 RELEVANT PARTIES AND ENTITIES

25         1.      Recology Inc. was a corporation responsible for solid waste collection and disposal

26 services in the City and County of San Francisco. It generally operated through the three subsidiary
27 companies comprising its San Francisco Group. The San Francisco Group subsidiary companies are

28 collectively referred to hereafter as “Recology.”


     INDICTMENT                                        1
30
 1         2.       At all times relevant to this Superseding Indictment, defendant JOHN FRANCIS

 2 PORTER was a high-ranking executive at Recology Inc. From approximately January 2015 through

 3 approximately December 2017, PORTER was a Controller at Recology. From on or about January 2018

 4 through in or about January 2021, PORTER was a Vice President and Group Manager at Recology.

 5         3.       At all times relevant to this Superseding Indictment, Paul Frederick Giusti (“Giusti”) was

 6 the Group Government and Community Relations Manager for Recology. In this role, Giusti served as

 7 one of Recology’s liaison to elected officials and departments of the City and County of San Francisco,

 8 as well as to community organizations. Between approximately January 2018 and approximately June

 9 2020, Giusti reported to PORTER.

10          4.     At all times relevant to this Superseding Indictment, Mohammed Nuru (“Nuru”) was the

11   Director of San Francisco Public Works, also known as the Department of Public Works (“DPW”) of

12   the City and County of San Francisco (the “City”). As Director of DPW, Nuru had significant

13   authority and influence over Recology’s business. Among other things, Nuru presided over the process

14   that governed the rates that Recology could charge in San Francisco for waste collection services and

15   was responsible for making a recommendation as to whether any rate increases for Recology should be

16   approved. Nuru also had influence over the amount and rate for a form of payment to Recology,

17   known as a tipping fee, that Recology charged DPW when DPW dumped waste materials at a Recology

18   recycling facility. Nuru could also approve, deny, or otherwise affect other payments to Recology, as

19   well as operational changes requested by Recology that would affect Recology’s business.

20          5.     Nick Bovis (“Bovis”) was the owner of Lefty O’Doul’s, a bar and restaurant in San

21   Francisco. He also managed the Lefty O’Doul’s Foundation for Kids, which was registered as a non-

22   profit entity with a mission to “provide underprivileged kids the opportunity to experience baseball

23   through providing bats, baseball gloves, equipment, and tickets to ball games.”

24                    THE HONEST SERVICES FRAUD SCHEME AND CONSPIRACY

25          6.     Beginning on a date unknown, but no later than December 2016, and continuing until on

26 or about January 28, 2020, in the Northern District of California and elsewhere, Giusti and others
27 participated in devised, and intended to devise a conspiracy and a scheme and artifice to defraud the

28 public of its right to the honest services of a public official, Nuru, through bribery and kickbacks in


     INDICTMENT                                       2
30
 1 breach of the official’s fiduciary duty. The scheme and conspiracy was carried out by means of

 2 materially false and fraudulent pretenses, representations, and promises, and by means of omission and

 3 concealment of material facts. Defendant PORTER joined the conspiracy no later than October 2017.

 4          7.     As part of the scheme to defraud the public of its right to the honest services of Nuru,

 5 PORTER, along with Giusti, Bovis, and others known and unknown to the grand jury, helped direct a

 6 stream of benefits from Recology to Nuru or his designees, including payments for parties Nuru

 7 organized, along with meals, drinks, and other things of value to Nuru. The purpose of this stream of

 8 payments and benefits was to influence Nuru to act in Recology’s favor as opportunities arose, and to

 9 have Nuru take official action and exercise official influence in Recology’s favor in exchange for such

10 payments and benefits.

11          8.     In 2016, Recology notified Nuru and DPW of its intent to submit an application to raise

12 the rates it charged residents and businesses in San Francisco for waste removal and disposal. At part of

13 its rate increase application, Recology sought approval to raise the rates it charged for residential and

14 commercial waste pickup and processing by an average of 21%. Recology submitted a draft rate

15 increase to Nuru and DPW on December 13, 2016.

16          9.     The rate increase application was reviewed and ultimately signed off on by Nuru, who on

17 or about May 12, 2017, issued a Director’s Report finding that Recology’s rate increase proposal was

18 reasonable, and recommended approval of the increases. On or about June 19, 2017, the San Francisco

19 Rate Board unanimously adopted Nuru’s recommendation and approved Recology’s rate increases.

20          10.    Separately, from on or about June 2018 through on or about July 2019, PORTER and

21 others, on behalf of Recology, sought Nuru’s approval to raise a payment, known as a “tipping fee” that

22 Recology charged DPW for truckloads of asphalt and cement waste brought to Recology’s Sustainable

23 Crushing recycling facility. Recology’s profits on the contract had been declining, and Recology sought

24 Nuru’s approval for an increase in the fees DPW paid to Recology. PORTER led Recology’s efforts to

25 influence Nuru to increase the fees, emailing him and meeting with him in person. Later in 2019,

26 Recology submitted a bid for a new contract with the City of San Francisco to increase its tipping fees
27 and other charges and fees paid to Recology by DPW and the City of San Francisco.

28 //


     INDICTMENT                                       3
30
 1          11.   In furtherance of the conspiracy and scheme to defraud the City of San Francisco of the

 2 honest services of Mohammed Nuru, PORTER, Giusti and others directed $60,000 in payments from

 3 Recology to Nuru to fund increasingly elaborate and expensive holiday parties Nuru hosted for friends,

 4 political supporters, and select DPW employees.

 5          12.   Nick Bovis, the owner of the Lefty O’Doul’s restaurant and the founder of the Lefty

 6 O’Doul’s Foundation for Kids, participated in the conspiracy, agreeing, at Nuru’s urging, to use the

 7 Lefty O’Doul’s Foundation for Kids to accept corporate donations from Recology and others to pay for

 8 Nuru’s holiday parties, and to conceal their source. Bovis, Nuru, and others used the payments to the

 9 non-profit to pay expenses for Nuru’s holiday parties, and not to benefit underprivileged children.

10          13.   On or about December 2, 2016, Giusti and other Recology executives met with Nuru to

11 discuss Nuru’s concerns about items Recology sought to include in its rate increase application. At the

12 meeting, Nuru requested that Recology make a $5,000 “donation” to pay for Nuru’s holiday party.

13          14.   On or about December 12, 2016, Recology, at Giusti’s request, issued a $5,000 check

14 falsely made out as a “Holiday Donation” to the “Lefty O’Doul’s Foundation for Kids.”

15          15.   Between October 2017 and December 2019, PORTER, in his role as Controller and then

16 Vice President and Group Manager of Recology’s San Francisco Group, approved $55,000 in payments

17 from Recology for Nuru’s annual holiday parties, at Nuru’s request. PORTER and others concealed the

18 payments by labeling them as holiday donations to the non-profit Lefty O’Doul’s Foundation for Kids.

19          16.   In or about October 2017, Nuru asked Recology, through Giusti, to donate to Nuru’s

20 holiday party. On or about October 17, 2017, PORTER approved a request from Giusti for a $15,000

21 payment from Recology to the Lefty O’Doul’s Foundation for Kids, falsely describing it as a “Holiday

22 Donation,” knowing it was in fact a payment to Nuru to fund his holiday party.

23          17.   On or about November 27, 2018, PORTER approved another $20,000 payment from

24 Recology, at Giusti’s request, to Nuru to pay for his holiday party. Giusti’s request came after Giusti

25 had a conversation with Nuru in which Nuru said “I always have to get more . . . so if you could give me

26 twenty, that would be nice.” Nuru later referred to the payments as being for “the big party that you
27 helped me pay for.”

28 //


     INDICTMENT                                      4
30
 1          18.    On or about November 12, 2019, PORTER approved another $20,000 payment from

 2 Recology to the Lefty O’Doul’s Foundation for Kids falsely labeled “2019 Holiday Donation” that

 3 PORTER knew was in fact a payment to Nuru to fund his annual holiday party.

 4          19.    Recology executives, including PORTER, also regularly paid for meals and drinks for

 5 Nuru and other high-ranking DPW employees, including breakfasts for Nuru and DPW executives at

 6 Stacks Restaurant, paid for by PORTER and others at Recology, as well as dinners and drinks. In one

 7 instance, on December 20, 2018, PORTER paid $1,182 on his Recology corporate credit card for a

 8 dinner with Nuru and other Recology executives at Harris Restaurant, a San Francisco steakhouse.

 9          20.    Nuru accepted these items of value from Recology. These stream of payments and

10 benefits from PORTER and Recology were paid with the purpose of influencing or attempting to

11 influence and reward Nuru with regard to his official position with the DPW.

12 COUNT ONE: 18 U.S.C. § 1349 – Conspiracy to Commit Honest Services Wire and Mail Fraud

13          21.    Paragraphs 1 through 20 of this Superseding Indictment are re-alleged and incorporated as
14 if fully set forth herein.

15          22.    Beginning no later than in or about October 2017, and continuing through in or about
16 January 28, 2020, in the Northern District of California and elsewhere, the defendant,

17                                        JOHN FRANCIS PORTER
18 did knowingly conspire and agree with Paul Frederick Giusti, Mohammed Nuru, Nick Bovis, Recology,

19 and others, known and unknown to the grand jury, to commit honest services wire fraud; that is,

20 devising and intending the devise a scheme and artifice to defraud and deprive the people of San

21 Francisco of their right to the honest and faithful services of Mohammed Nuru through bribery and

22 kickbacks, and to use or cause someone to use an interstate or foreign wire communication to carry out

23 or attempt to carry out the scheme and causing items to be placed in an authorized depository for mail

24 matter to be sent and delivered by the United States Postal service or any private or commercial

25 interstate carrier, all in violation of 18 U.S.C. §§ 1341, 1343, 1346.

26          23.    All in violation of Title 18, United States Code, Section 1349.
27 //

28


     INDICTMENT                                      5
30
 1 COUNTS TWO AND THREE: 18 U.S.C. § 1343, 1346 - Honest Services Wire Fraud and 18 U.S.C. § 2

 2 - Aiding and Abetting

 3          24.    The factual allegations of Paragraphs 1 through 23 of this Superseding Indictment are re-

 4 alleged and incorporated as if fully set forth here.

 5          25.    On or about the dates set forth below, in the Northern District of California and elsewhere,

 6 for the purpose of executing the aforementioned scheme and artifice to defraud the public of its right to

 7 the honest services of public officials and attempting to do so, defendant PORTER, caused the

 8 transmission of the following items by means of wire and radio communications in interstate and foreign

 9 commerce, namely the transmission of electronic information on or about the following dates necessary

10 for the settlement and payment of the checks drawn from and transferred to the following accounts:

11    COUNT           DATE                                Wire Transmission
12      TWO       11/29/2018       $20,000 check from Wells Fargo Bank account in the name of
                                   Recology Inc. (Acct No. ending in 0900) for payment into a Bank of
13                                 America account in the name of the Lefty O’Doul’s Foundation for
                                   Kids (Acct No. 2910)
14
       THREE      11/18/2019       $20,000 check from Wells Fargo Bank account in the name of
15                                 Recology Inc. (Acct No. ending in 0900) for payment into a Bank of
                                   America account in the name of the Lefty O’Doul’s Foundation for
16                                 Kids (Acct No. 2910)

17

18          All in violation of Title 18, United States Code, Sections 1343, 1346 and 2.

19 COUNT FOUR: 18 U.S.C. §§ 1341, 1346 - Honest Services Mail Fraud and 18 U.S.C. § 2 - Aiding and

20 Abetting

21          26.    The factual allegations of Paragraphs 1 through 23 of this Superseding Indictment are re-

22 alleged and incorporated as if fully set forth here.

23          27.    On or about the dates set forth below, in the Northern District of California and elsewhere,

24 for the purpose of executing the aforementioned scheme and artifice to defraud the public of its right to

25 the honest services of public officials and attempting to do so, defendant PORTER, for the purpose of

26 executing the above-described scheme to defraud, caused the following items to be placed in an
27 authorized depository for mail matter to be sent and delivered by the United States Postal Service or any

28 private or commercial interstate carrier:


     INDICTMENT                                      6
30
 1    COUNT            DATE                                        Mailing
 2     FOUR         11/29/2018      $20,000 Check from Recology Inc. to the San Francisco Department
                                    of Public Works
 3

 4          All in violation of Title 18, United States Code, Sections 1343, 1346 and 2.

 5 COUNT FIVE: 18 U.S.C. § 371 - Conspiracy to Commit Bribery of a Local Official

 6          28.     Paragraphs 1 through 20 of this Indictment are re-alleged and incorporated as if fully set

 7 forth herein.

 8          29.     Beginning no later than in or about October 2017, and continuing through on or about

 9 January 28, 2020, in the Northern District of California and elsewhere, the defendant,

10                                          JOHN FRANCIS PORTER,

11 did knowingly conspire and agree with Paul Frederick Giusti, Mohammed Nuru, Nick Bovis, and others,

12 known and unknown to the grand jury, to commit bribery of a local official, that is, corruptly giving,

13 offering, and agreeing to give things of value, namely, payments and benefits to Nuru or his designees,

14 with the intent to influence Nuru to use his power and perform official acts to benefit Recology’s

15 business as opportunities arose, in violation of 18 U.S.C. § 666(a)(2).

16                                                 OVERT ACTS

17          The defendant PORTER, Giusti, and others committed the following overt acts in furtherance of

18 the conspiracy, among others:

19                a. On or about November 26, 2018 Nuru spoke to Giusti by phone. Nuru told Giusti that

20                   Recology should pay more money than last year for Nuru’s upcoming holiday party, and

21                   requested $20,000. Giusti agreed to make this payment. On the same call Nuru told

22                   Giusti that Nuru was working on getting PORTER the increase in tipping fees paid to

23                   Recology that PORTER and Recology were seeking.

24                b. On or about November 27, 2018, Giusti and PORTER spoke by telephone. Giusti

25                   discussed his conversation with Nuru and informed PORTER that Nuru wanted $20,000

26                   to pay for his upcoming holiday party.

27                c. On November 27, 2018, PORTER approved a $20,000 payment from Recology to Nuru,

28                   falsely labeled as a “holiday donation” to the Lefty O’Doul’s Foundation for Kids.


     INDICTMENT                                       7
30
 1          All in violation of Title 18, United States Code, Section 371.

 2 COUNT SIX: 18 U.S.C. §§ 666(a)(2) - Bribery of a Local Official and 18 U.S.C. § 2 - Aiding and

 3 Abetting

 4          30.      Paragraphs 1 through 29 of this Indictment are re-alleged and incorporated as if fully set

 5   forth herein.

 6          31.      At all times material to this Indictment, the Department of Public Works of the City and

 7   County of San Francisco was an agency of a local government that received federal assistance in excess

 8   of $10,000 during the one-year period between November 27, 2017, and November 27, 2018, and the

 9   one-year period between November 28, 2018 and November 28, 2019.

10          32.      On or about November 27, 2018, in the Northern District of California, the defendant,

11                                               JOHN FRANCIS PORTER,

12 did corruptly give, offer, and agree to give a thing of value to any person intending to influence and

13 reward an agent of the Department of Public Works of the City and County of San Francisco, namely,

14 Mohammed Nuru, in connection with a transaction and series of transactions of the Department of

15 Public Works involving $5,000 or more, and did aid and abet the same offense. Specifically, on or

16 about November 27, 2018, PORTER approved a payment of $20,000 to the Lefty O’Doul’s Foundation

17 for Kids to fund Mohammed Nuru’s annual holiday party, a payment intended as an illegal gift to Nuru

18 in order to induce his official actions on Recology’s behalf.

19 All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.

20 FORFEITURE ALLEGATIONS: 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

21          33.      The allegations contained in this Superseding Indictment are re-alleged and incorporated

22 by reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section

23 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

24          34.      Upon conviction for any of the offenses set forth in this Superseding Indictment, the

25 defendant,

26                                           JOHN FRANCIS PORTER,

27 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

28 Title 28, United States Code, Section 2461(c), all property, real or personal, constituting, or derived


     INDICTMENT                                        8
30
 1 from proceeds the defendant obtained directly and indirectly, as the result of those violations, including

 2 but not limited to a forfeiture money judgment. If any of the property described above, as a result of any

 3 act or omission of the defendant:

 4          a.      cannot be located upon exercise of due diligence;

 5          b.      has been transferred or sold to, or deposited with, a third party;

 6          c.      has been placed beyond the jurisdiction of the court;

 7          d.      has been substantially diminished in value; or

 8          e.     has been commingled with other property which cannot be divided without difficulty,

 9 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

10 United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1)

11 and Title 28, United States Code, Section 2461(c).

12          All pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and (b)(1); Title 28, United

13 States Code, Section 2461(c); and Federal Rule of Criminal Procedure 32.2.

14

15 DATED: November 29, 2022                                        A TRUE BILL.

16

17                                                                 ____ /s/_ _______
                                                                   FOREPERSON
18

19
     United States Attorney
20

21
   ______ /s/_ ____________________
22 DAVID J. WARD
   ILHAM A. HOSSEINI
23 Assistant United States Attorneys

24

25

26
27

28


     INDICTMENT                                       9
30
AO 257 (Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:        COMPLAINT                   INFORMATION                       INDICTMENT                      Name of District Court, and/or Judge/Magistrate Location

           OFFENSE CHARGED
                                                                         SUPERSEDING                   NORTHERN DISTRICT OF CALIFORNIA
18 U.S.C. § 1349 – Conspiracy to Commit Honest Services Wire and                                                     SAN FRANCISCO DIVISION
Mail Fraud                                                                     Petty
18 U.S.C. §§ 1343, 1346 – Honest Services Wire Fraud
18 U.S.C. §§ 1341, 13446 - Honest Services Mail Fraud                          Minor
18 U.S.C. § 371 – Conspiracy to Commit Bribery of a Local Official                                DEFENDANT - U.S
18 U.S.C. §§ 666(a)(2) and 2 – Bribery of a Local Official
                                                                               Misde-
                                                                                                     JOHN FRANCIS PORTER
18 U.S.C. § 2 – Aiding and Abetting
28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(C) – Forfeiture Allegations         meanor

                                                                               Felony
                                                                                                     DISTRICT COURT NUMBER
PENALTY: Ct: 1: 20 yrs prison; $250,000 fine; 3 yrs supervised release: Cts.
         2-5: 20 yrs prison 3 yrs supervised release, $250,000 fine, Ct. 6: 5
         yrs imprisonment, $250,000 fine; Ct. 7: 10 yrs imprisonment;                                 Superseding Indictment CR22-270WHO
         $250,000 fine; 3 yrs supervised release. All counts: Restitution;
         forfeiture; $100 special assessment per count
                                                                                                                               DEFENDANT
                                  PROCEEDING                                                           IS NOT IN CUSTODY
                                                                                                         Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                     1)       If not detained give date any prior
   Federal Bureau of Investigation                                                                      summons was served on above charges

       person is awaiting trial in another Federal or State Court,                             2)       Is a Fugitive
       give name of court

                                                                                               3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
                                                                                                     Northern District of California
                                                                                                                                                         FILED
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                       IS IN CUSTODY                                      Nov 29 2022

                                                                                                4)       On this charge                                  Mark B. Busby
                                                                                                                                                   CLERK, U.S. DISTRICT COURT
       this is a reprosecution of                                                                                                               NORTHERN DISTRICT OF CALIFORNIA
       charges previously dismissed
       which were dismissed on motion
       of:                                                                  SHOW
                                                                                                5)       On another conviction
                                                                                                                                            }           SAN FRANCISCO
                                                                                                                                                       Federal      State

                                                                                                6)       Awaiting trial on other charges
             U.S. ATTORNEY                   DEFENSE


                                                                }
                                                                         DOCKET NO.                       If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
                                                                                                                                   }
                                                                                                                        Yes                If "Yes"
       pending case involving this same                                                              Has detainer
                                                                                                                                           give date
       defendant                                                         MAGISTRATE                  been filed?        No                 filed


                                                                }
                                                                          CASE NO.
       prior proceedings or appearance(s)                                                            DATE OF
                                                                                                     ARREST
                                                                                                                               Month/Day/Year
       before U.S. Magistrate regarding this                        22-cr-270 WHO
       defendant were recorded under                                                                 Or... if Arresting Agency & Warrant were not

Name and Office of Person
Furnishing Information on this form STEPHANIE                             M. HINDS
                                                                                                     DATE TRANSFERRED
                                                                                                     TO U.S. CUSTODY
                                                                                                                                               Month/Day/Year


                                      U.S. Attorney              Other U.S. Agency

Name of Assistant U.S.                                                                                    This report amends AO 257 previously submitted
Attorney (if assigned)                            David J. Ward
                                                               ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                   NO PROCESS*                       WARRANT        Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                          * Where defendant previously apprehended on complaint, no new summons or
                                                                                        warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                        Date/Time:                                 Before Judge:

        Comments:
